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   Andrew Sklar, Esquire (AS3105)
   1200 Laurel Oak RD., Ste 102
   Voorhees, NJ 08043
   (856)258-4050
   Attorneys for TrusteelPlaintiff
                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

   In the Matter of:                         IN PROCEEDING UNDER CHAPTER 7
   Cary Smith                                OF THE U.S. BANKRUPTCY CODE

   Barry Sharer, Trustee                     CASE NO.: l4-34878-CMG
   Plaitniff     "

   v.             )

   Donald Popowski, individually          ADVERSARY NO.: 15-2007 

   and d/b/a JNC~Enviromental Services: 

   Debtors. 


                  )

    NOTICE OF MOTION FOR AN ORDER TO ENFORCE LITIGANT'S RIGHTS



   To: 	   Donald popowski, d/b/a JNC Enviromental Services
           102 Deerwood Dr
           Trento~, NJ 08619-1851



           The Plaintiff, through his attorney, has filed papers with the court to seek an order

   to Enforce Litigant's Rights in the within proceeding.

           Your rights may be affected. You should read these papers carefully and

    discuss them with
                 ,    your attorney, if you have one in this bankruptcy case. (If you do

    not have an   a~torney,   you may wish to consult one.) 


    If you do not want the court to enter the requested Order, or if you want the court to 


    consider your views on the motion, then on or before January 26, 2016 you or your 


    attorney must: 


           •   File with the court a written response, an answer, explaining your position at:
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                  United States Bankruptcy Court
                  Clarkson S. Fisher U.S. Courthouse 

                 ·402 East State St. 

                 Jrenton, New Jersey 08608 


          • 	 If y.0u mail your response to the court for filing, you must mail it early enough
              so the court will receive it on or before the date stated above.

          You must also mail a copy to:

                  Andrew Sklar, Esquire 

                  Sklar Law, LLC 

                  1200 Laurel Oak Road, Ste 102 

                 Voorhees, New Jersey 08043 

                 .(Attorneys for the Trustee) 


                      -and-
                 I.
                      Office of the United States Trustee
                      U.S. Department of Justice 

                      One Newark Center, Suite 2100 

                      Newark, NJ 07102 



          • 	 Attend the hearing scheduled to be held on May 14,2013 at 10:00 a.m. at the
              United States Bankruptcy Court, Mitchell Cohen Federal Court House, 1 John
              F. Gerry Plaza, 4th & Cooper Streets, Camden, New Jersey, 08101.

   If you or your attorney do not take these steps, the court may decide that you do not

   oppose the relief sought in the motion and may enter an order granting that relief.


                                             lsi Andrew Sklar
                                             Andrew Sklar, Esquire
                                             Sklar Law, LLC
                                             1200 Laurel Oak Road - Ste 102
                                             Voorhees, New Jersey 08043
                                             (Attorneys for Chapter 7 Trustee)

    Dated: Decerriber 21,2015
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   Andrew Sklar, Esquire (AS3105)
   1200 Laurel Oak RD., Ste 102
   Voorhees, NJ 08043
   (856)258-4050
   Attorneys for TrusteelPlaintiff
                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

   In the Matter of:                       : IN PROCEEDING UNDER CHAPTER 7
   Cary Smith                                OF THE U.S. BANKRUPTCY CODE

   Barry Sharer, Trustee                     CASE NO.: 14-34878-CMG
   Plaitniff     •

   v.             ;

   Donald Popovv:ski, individually        ADVERSARY NO.: 15-2007 

   and d/b/a JNC-Enviromental Services: 

   Debtors. 


                  )

         CERTIFICATION IN SUPPORT OF MOTION TO ENFORCE LITIGANT'S
                                  RIGHTS



           I, Andrew Sklar, Esquire, of full age, hereby certify as follows:
                  ,

    1.     I am the attorney for the Chapter 7 Trustee in the within case and move to enforce

   the rights of the trustee as a litigant in this adversary proceeding.

   2.      On June 22, 2015 an adversary complaint was filed with the United States

   Bankruptcy Court for the District of New Jersey, and Default Judgment was entered in

   favor of the trustee for $44,556.50 on September 21,2015.

   3.      The Federal Rule of Bankruptcy Procedure 7069 states that "[rJule 69 F.R.Civ.P
                      \
   applies in adversary proceedings."

   4.       F.R.Civ.P 69(a)(2) allows:

                 In aid of the judgment or execution, the judgment creditor or a
                 s.pccessor in interest whose interest appears of record may obtain
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                  discovery from any person-including the judgment debtor-as
                  pirovided in these rules or by the procedure of the state where the
                  court is located. (Emphasis added)

   5.     Pursuant to F.R.Civ.P 69(a)(2) Plaintiff served an information subpoena upon the

   defendant in accordance with New Jersey Rule of Court 6:7-2(b)(1) which allows that

   "[a]n information subpoena may be served upon the judgment debtor, without leave of

   court..." and "the answers to the written questions annexed thereto shall be returned to
                   i
   the .. .judgment) creditor's attorney within 14 days after service thereof."

   6.     On November 2, 2014 Plaintiff served an information subpoena in conformance

   with New Jersey Rule of Court 6:7-2(b)(1) andF.R.Civ.P69(a)(2) to the defendant by

   sending the information subpoena simultaneously by both regular and certified mail
                   ,
   return, receipt" requested. A copy of the information subpoena mailed to the defendant is


                   ,
   annexed hereto as Exhibit A and made a part hereof.

   7.      The   re~ular mail has been returned to my office marked "unclaimed", and the
                   \
   regular mail has not been returned. A copy of the certified mail envelope is annexed

   hereto as Exhibit B and made a part hereof.

   8.      New Jersey Rule of Court 6:7-2(e) provides that "[p]roceedings to seek

   relief. .. when a judgment-debtor fails to obey an ... information subpoena, shall be

   commenced by notice of motion supported by affidavit or certification."
                   .,
   9.      New Jersey Rule of Court 6:7-2(e) further instructs that the following notices be

   given to the defendant:

           A.      tThe defendant has violated the litigant's rights of the plaintiff by failing to

   comply with the information subpoena.
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            B.      The defendant is compelled to immediately furnish answers as required by

   the information subpoena.

            C.      If the defendant fails to appear in court on the return date or to furnish the

   required answers he/she shall, by order of the court, be arrested and confined until he/she

   has complied with the information subpoena.

            D.      If the defendant fails to appear in court on the return date, the defendant

   may be ordered to pay the attorney fees, if any, in connection with the motion to enforce

   litigant's rightk.

            E.      The court may grant such other relief as may be appropritate.

   10.      The order enforcing litigant's rights is governed by New Jersey Rule of Court 6:7­

   2(f):

           If the judgment-debtor has failed to appear in court on the return date and the court
           enters an order to enforce litigant's rights, it shall be in the form set forth in
           Appendik XI-O to these Rules and shall state that upon the judgment-debtor's
           failure, ~ithin 10 days of the certified date of mailing or personal service of the
           order, to 'comply with the information subpoena or discovery order, the court will
           issue an arrest warrant. The judgment-creditor shall serve a copy of the signed
           order upon the judgment-debtor either personally or by mailing it simultaneously
           by regular and certified mail, return receipt requested. The date of mailing or
           personal :service shall be certified on the order.

   11.      New Jersey Rule of Court 6:7-2(g) provides that if a defendant fails to respond to

   the information subpoena after an order enforcing litigant's rights has been issued by the

   court then a warrant for the defendant's arrest may be issued. Upon service of the arrest

   warrant then the defendant is brought to the court to answer the questions on the

   information    s~bpoena,   and thereafter be released.

   12.      The defendant has failed to answer the information subpoena served upon him by

   the trustee in the time allowed .
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   13.       The information subpoena was promulgated by the plaintiff in full accordance

   with the Rules of Court.

   14.       The information subpoena was promulgated in aid of execution on a judgment

   entered in an adversary proceeding to acquire assets due to the Chapter 7 Bankruptcy

   Estate.

   15.       For the reasons set forth above the Plaintiff respectfully requests that this Court

   grant the folloWing relief:

             A.         Issue an Order Enforcing Litigant's Rights in favor of the Plaintiff; and

             B.     . Order the defendant to pay the plaintiffs attorney's fees in connection
                    !

                        with this motion; and

             C. 	       Order that if the defendant fails to provide responses to the information

                        subpoena within 10 days of the service of this order, a warrant for the
                    \
                        defendant's arrest shall issue; and

             D.         Such other relief which this Court deems just and fair.

   I hereby certify that the foregoing statement are true and correct to the best of my

   knowledge, information and belief. I am aware that if any of the foregoing statements are

   willfully false, I am subject to punislunent.



                                                /s/ Andrew Sklar
                                                Andrew Sklar, Esquire
                                                Attorney for Trustee

   Dated: 	 Decerriber 21, 2015
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                                   EXHIBIT A 

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                        SKLAR                   ~W,               LLC 

                              1200 Laurel Oak Road - Suite 102
                                 Voorhees, New Jersey 08043

  ANDREW SKLAR                                                                    TEL: 856-258-4050
                                                                                   FAX: 856-258-6941
  Member NJ and PA Bars                                                   Website: www.skJarlaw.com

  November 2, 2015

  VIA REGULAR AND CERTIFIED MAIL, R.R.R

  Donald Popowski
  d/b/a JNC Environmental Services
  102 Deerwood Dr.
  Trenton, NJ 08619-1851

  Re: 	    Cary Sm'ith
           Case No.: 14-34878 - CMG
           Barry Sharer, Trustee vs. Donald Popowski, individually and d/b/a      mc
           Environmental Services
           Adversary No.: 15-2007

  Dear Mr. Popowski:

  Enclosed please find an Information Subpoena which is being sent to you pursuant to the Rules
  of Civil Practice)ofNew Jersey.

  Your written ans.wers, certified by the above named defendants. must be returned to this office
  within fourteen 04) days after you receive this.

  If you fail to answer and return this Infonnation Subpoena, you will be subject to further court
  action against you which may ultimately result in YOUR ARREST AND CONFINEMENT until
  such time as you comply with this Information Subpoena.

  Very        yo\rs;    .

    ndrewSklV
  Andrew Sklar Esquire
                   '.

  AS/har

                                            Disclosure 

   You are hereby advised, pu rsuant to the Fair Debt Collection Practices Act, that this firm 

   is deemed to be a debt collector attempting to collect a debt and any information obtained 

                                  will be used for that purpose. 

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                  FAILURE TO COMPLY WITH THIS INFORMATION SUBPOENA
                     MAY RESULT IN YOUR ARREST AND INCARCERATION

  Andrew Sklar, Esquire (AS31 05)
  Sklar Law, LLC
  1200 Laurel Oak Rd, Suite 102
  Voorhees, NJ 08043
  856/258-4050
  Attorneys for Trustee/Plaintiff
                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

  In Re:                                                  Case No.: 14-34878 - CMG
           Cary Sniith
           Barry Sharer, Trustee
                  , Plaintiff                             Adversary No.: 15-2007
                    t

                                                                    INFORMATION SUBPOENA
           vs.

           Donald Popowski, individually and
           d/b/a JNC Environmental Services
                   Defendant(s).

  THE STATE OF ~EW JERSEY, to: 

  Donald Popowski, 

  d/b/a JNC Environmental Services 

  102 Deerwood    Dr. 

  Trenton, NJ 08619-1851 


  Judgment has been entered against you in the United States Bankruptcy Court, District of New Jersey, on
  September 21,20'15, in the amount of $44,556.50, plus costs and attorney fees for a total of $44,556.50 of
  which $44,556.50[ remains due and unpaid.
                        ,




   Attached to this Iitformation Subpoena is a list of questions that court rules require you to answer within
   14 days from the date you receive this subpoena. If you do not answer the attached questions within the
   time required, the opposing party may ask the court to conduct a hearing in order to determine if you
   should be held in tontempt. You will be compelled to appear at the hearing and explain you reasons for
   your failure to anSwer.

   If this judgment has resulted from a default, you may have the right to have this default judgment vacated
   by making an appropriate motion to the court. Contact an attorney or the clerk of the court for
   information on making such a motion . Even if you dispute the judgment you must answer all of the
   attached questions.

          You must answer each question giving complete answers, attaching additional pages if necessary.
   False or misleadihg answers may subject you to punishment by the court. However, you need not provide
   information conc~rning the income and assets of other living in your household unless you have a
   financial interest in the assets or income. Be sure to sign and date your answers and return them to the
   address in the uppe~ left hand corner within 14 days .



                                                              /S/JENNIFER M. PEREZ _ __ 

                                                              TEMPORARY ACTING CLERK 

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                              QUESTIONS FOR INDIVIDUALS
                 ,
  1.    Full Name_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  2.    Address~,----------------------------




  3.    Birthdate,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  4.    Social Security # _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  5.    Driver's License # and expiration date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



  6.    Telephone #_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  7.    Full name and address of your employer_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  (a) Your weeklytsalary: Oross._ _ _ _ __          Net_ _ _ _ __

  (b) Ifnot presen~ly employed, name and address of last employer_ _ _ _ _ _ _ _ _ __




  8.    Is there currently a wage execution on your salary?   0   Yes    0   No

  9.     List the names, addresses and account numbers of all bank accounts on which your name
  appears.

                                 IAddress                               IAccount No.
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  10.    If you receive money from any of the following sources, list the amount, how often, and
  the name and address of the source:

  Tj'pe                Amount & Frequency              Name and Address of Sources
  Alimony




  Loan Payments




  Rental Income _




  Pensions




  Bank Interest
                  -­




   Stock
   Dividends      -­




   Other
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  11.    Do you receive any of the following, which are exempt from levy? Any levy on disclosed
  exempt funds may result in monetary penalties including reimbursement of the debtor's out-of­
  pocket expenses.

  Social Security benefits   Yes                      Amount     per month        No
  S.S.1. benefits            Yes                      Amount     per month        No
  Welfare benefits           Yes                      Amount     per month        No
  VA benefits                Yes                      Amount     per month        No
  Unemployment benefits      Yes                      Amount     per month        No
  Workers' compensation      Yes                      Amount     per month        No
  benefits
  Child support payments     Yes                      Amount per month            No



  12.     Do you own the property where you reside?        0   Yes   0   No

          If yes, state the following;

          (a) 	   Name of the owner or owners _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




          (b)     Date property was purchased_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          (c)     Pmchase price_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

          (d)     Name and address of mortgage holder _ _ _ _ _ _ _ _ _ _ _ _ _ __




          (e) 	   Balance due on mortgage _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   1
  13. 	   Do you own any other real estate?      0   Yes   0   No

          If yes, state the following for each property:

          (a) 	   Address ofproperty_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




          (b)     Date property was purchased_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _
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         (c)     Purchase price _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         (d)     Name and address of all owners _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         (e)     Name and address of mortgage holder _ _ _ _ _ _ _ _ _ _ _ _ _ __




          (f)    Balance due on mortgage_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

          (g)    ~ames   and addresses of all tenants and monthly rental paid by each tenant




   14.    Does the present value of your personal property, which includes automobiles, furniture,
   appliances, stocks, bonds, and cash on hand, exceed $1 ,OOO? 0 Yes 0 No

   If the answer is "yes", you must itemize aJ I personal property owned by you.
           Cash on hand: $_ _ _ _ _ _ _ _ __
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        Other personal property: (Set forth make, model and serial number. If financed, give
  name and address of party to whom payments are made).

                                                                                (If Financed)
                         Date                 Purchase
  Item                   Purchased            Price                Balance Still Due      Present Value




  15.    Do you own a motor vehicle?     0   Yes   0   No If yes, state the following for each vehicle
  owned:

  (a)    Make, model and year of motor vehicle



  (b)    If there is a lien on the vehicle, state the name and address of the I ienholder and the

  amount due to the lienholder
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  (c)     License plate #

  (d)     Vehicle identification #

  16.     Do you own a business?         0   Yes   0   No If yes, state the following:

  (a)     Name and address of the business




  (b)      Is the bu~iness a:   0   corporation;   0   sole proprietorship;   0   partnership; or 0 limited
  liability company?
                   I
  (c)     The name and address of all stockholders, officers, members and/or partners:

                  Name                                        Address



                   -




                   ~
                       ,


                       '.

                    -
                   ,,
                    -




   (d)    The amount of income received by you from the business during the last twelve months
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  17.     Set forth all other judgments that you are aware of that have been entered against you and
  include:
  Creditor's Name     Creditor's Attorney    Amount Due         Name of Court     Docket Number




  I hereby certify that the foregoing statements made by me are true. 1am aware that if any of the
  forgoing statements made by me are willfully false, I am subject to punishment.


  Date:
                                         Signature




                               QUESTIONS FOR BUSINESS ENTITY

     1. Name ofibusiness including all trade names. _ _ _ _ _ _ _ _ _ __


     2. Addresses of all business locations. _ _ _ _ _ _ _ _ _ _ _ _ _ _- _ __


     3. If the judgment-debtor is a corporation, the names and addresses of all
        stockholders, officers and directors.




      4. If a partnership, list the names and addresses of all partners.
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    5. If a limited partnership, list the names and addresses of all general
       partners.




    6. 	 Set forth in detail the name, address and telephone number of all
         businesses in which the principals of the judgment-debtor now have an
         interest and set forth the nature of the interest.




    7. 	 For all bank accounts of the judgment-debtor business entity, list the
         name of the bank, the bank's address, the account number and the name
         In      which the account is held.




    8. Specifica11y state the present location of all books and records of the 

        business: including checkbooks. _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ __ 



    9. 	 State the name and address of the person, persons, or entities who
          prepare/maintain and/or control the business records and checkbooks.
                  ~.




     10. List all physical assets of the business and their location. If any asset
         is subject to a lien, state the name and address of the lienholder and
         the amoqnt due on the lien.




     11. Does the business own any real estate? Yes _ No _ If yes, state the
     following for each property:
     (a) 	Name(s)Jn which property is owned _ _ _ _ _ _ _ _ _ _ _ _ _ _~_ _
     (b) Address bfproperty _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_ _ __
     (c) Date property was purchased _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          (d) Purchase price _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
     (e) Name and address of mortgage holder _ _ _ _ _ _ _ _ _ _ _~_~_ _
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    (f) Balance 'due on mortgage
                                     -------------------------------------
    (g) The names and addresses of all tenants and monthly rentals paid by
                                                                    each
        tenant.

        NAME AND ADDRESS OF TENANT                               MONTHLY RENTAL

     12. List all motor vehicles owned by the business, stating the following for
     each vehicle:
     (a) Make, model and year _ _ _ _ _ _ _ _ _ __ _ _~_ _ _ _ _ ___

     (b) License plate number _----:-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_
     (c) Vehicle identification number

                 is
     (d) Ifthere a lien on the vehicle, the name and address of the
         lienholder and the amount due on the lien


     13. List all ~ccounts receivable due to the business, stating the name,
     address and 'amount due on each receivable.
                 .
        NAME AND ADDRESS                                        AMOUNT DUE

     14. For any transfer of business assets that has occurred within six months
     from the dat~ of this subpoena, specifically identify:
                 I
     (a) The nature of the asset _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                                 (b)
     The date of transfer
                           ------------------------------
     (c) Name and address of the person to whom the asset was transferred _ _---~


     (d) The consideration paid for the asset and the form in which it was
            paid j(check, cash, etc.) ___________________ __ _~_
     (e) Explain in detail what happened to the consideration paid for the
            assef
                      -------------------------------------------
      15. If the bQsiness is alleged to be no longer active, set forth:
    (a) The date of cessation _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    (b) All assets as of the date of cessation _ _ _ _ _ _ _ _ _ _ _ _ _-_~_
                  I



     (c) The pre~ ent location of those assets ________________ _              ~___
                  I




     (d) If the assets were so ld or transferred, set forth :
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    (1) The nature of the assets _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    (2) Date of transfer ---:-___________________________
        (3) Name and address of the person to whom the assets were 

        transferred 

                    -----------------------------------
    (4) The consideration paid for the assets and the form in which it
              waspaid ____________________________________

    (5) Explain in detail what happened to the consideration paid for           the assets



     16. Set fortlLali other judgments that you are aware of that have been entered against
          the business and include the following:
          Creditor's      Creditor's     Amount Due          Name of Docket
         Name ' Attorney                                     Court     Number
     17. For all litigation in which the business is presently involved, state:
       (a) Date litigation commenced ___________________________~
     (b) Name of party who started the litigation _ _ _ _ _ _ _ _ _ _ _ _ _ __

     (c) Nature oi[the action _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_

     (d) Names of all parties and the names, addresses and telephone numbers of
         their attorneys _________________________________


     (e) Trial date _______________________________
     (f) Status of case __________________________________
     (g) Name o~ the court and docket number ___________________

                r
     18. State the name, address and position of the person answering these 

         questions. ___________________________________ 


     hereby certify that the foregoing statements made by me are true. I am aware that if any
     of the foreg6ing statements made by me are willfully false, I am subject to punislunent.


     Date: _ _"--_________

                j

     ruote: Former Appendix XI-K adopted June 29, 1990, effective September 4, 1990;
     amended July 14, 1992, effective September 1, 1992; redesignated as Appendix XI-L and
     amended Juiy 13, 1994, effective September 1, 1994; amended July 28,2004 to be
     effective September 1, 2004.]
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                                Service'" Page 20 of 24
                    CERTIFIED                MAI~"!   RECEIPT
                    'Domes/lc 1\1.11/ Only




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                                              ,__ __            Here

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                            Donald Popowski,
                            d/b/a INC Environmental Services
                            102 Deerwood Dr.
                            Trenton, NJ 08619-1851
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                                   EXHIBIT B 

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SKLAR LAW, LLC
                                    ·,6d#ifUiliIJI~rm-
                                              II
1200 LAUREL OAK R.OAD, SL!ITE 102



                                                                          IIII
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                                          Document     Page 23 of 24
UNITED STATES BANKRUPTCY COURT 

DISTRICT OF NEW JERSEY 

Caption in Compliance with D.N.J. LBR 9004-2(c)

Andrew Sklar, Esquire (AS31 05) 

Sklar-Markind 

102 Browning Lane, Bldg B - Suite 1 

Cherry Hill, New Jersey 08003 

(856) 616-8710 

Chapter 7 trustee 


InRe:                                                      Case No.: 14-34878 (GMC) 


Cary Smith                                                 Adv. No.: 15-2007 (GMC) 


                                                           Hearing Date: 


                                                           Judge: CHRISTINE M. GRAVELLE 

r-----------------------------------~
BARRYSHARER,TRUSTEE 

Plaintiff 


v.

DONALD POPOWSKI, individually and d/b/a JNC 

ENVIROMENTAL SERVICES 

Defendant 


                               ORDER ENFORCING LITIGANT'S RIGHTS

        The relief set forth on the following pages, numbered two (2) through (2)   is
        hereby ORDERED.
          Case 15-02007-CMG           Doc 12    Filed 12/22/15 Entered 12/22/15 10:44:42               Desc Main
                                               Document     Page 24 of 24

(PAGE 2)

Debtor:          CARY SMITH

Defendant:       Donald Popowski individually and d/b/a JNC Enviromental Services

Case No.:         14-34878-CMG

Adv. Pro. No.: IS-2007-CMG

Caption:         Order TO ENFORCE LITIGANT'S RIGHTS



          THIS MATTER having come before the Court upon the motion of Andrew Sklar, attorney for the Chapter 7
                              ,
Trustee herein, for an Order to ENFORCE LITIGANT'S RIGHTS, and for good cause shown;

          IT IS ORDERED that the defendant in the adversary proceeding has violated the rights of the plaintiff as a

litigant; and

          IT IS ORDERED that the Defendant shall furnish answers to the Information Subpoena within ten (10) days of

service of th is order; and

          IT IS ORDERED that if the Defendant fails to furnish said answers within ten (10) days of service of this order,

a warrant for the arrest of the defendant shall issue upon application of the plaintiff.

          IT IS ORDERED that the Defendant shall pay the plaintiffs attorney's fees in connection with this motion in the

amount of $__________
